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                              No. 23-20480


             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


  The Woodlands Pride, Incorporated; Abilene Pride Alliance; Extragrams,
        L.L.C.; 360 Queen Entertainment, L.L.C.; Brigitte Bandit,

                           Plaintiffs - Appellees,

                                       v.

Warren Kenneth Paxton, in an official capacity as Attorney General of Texas;
         Brett Ligon, in an official capacity as District Attorney of
     Montgomery County; Montgomery County, Texas; James Hicks,
       in an official capacity as District Attorney of Taylor County;
               Taylor County, Texas; City of Abilene, Texas,

                         Defendants - Appellants.


               On Appeal from United States District Court
                   for the Southern District of Texas
                         C.A. No. 4:23-CV-2847


         BRIEF OF APPELLANT CITY OF ABILENE, TEXAS


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              CERTIFICATE OF INTERESTED PARTIES

     The undersigned counsel of record certifies that the following listed

persons and entities, as described in Fifth Circuit Local Rule 28.2.1, have

an interest in the outcome of this case. These representations are made in

order that the judges of this court may evaluate possible disqualification

or recusal.


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City of Abilene, Texas               Ramon Gustave Viada III
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                                     The Woodlands, Texas


                                           /s/ Ramón G. Viada III
                                           Ramón G. Viada III




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          STATEMENT REGARDING ORAL ARGUMENT

     This is an appeal from a permanent injunction prohibiting the City

of Abilene from enforcing a Texas statute, S.B. 12, which the district court

declared unconstitutional. The legal issues for the City – indeed for all

local governments – are significant: Are cities proper parties to a pre-

enforcement facial challenge to a state law claimed to chill free speech?

Does it matter for purpose of establishing municipal liability under 42

U.S.C. § 1983, that the State Legislature that passed the allegedly

offending statute is not the City’s final policymaker; nor is the state law

a municipal policy, but rather, a state policy?

     The City requests oral argument to enable counsel to identify and

clarify issues for the Court that the briefing may leave unexplained and to

answer questions the Court may have about the contents of the record.




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                     JURISDICTIONAL STATEMENT

     Plaintiffs sued the City for declaratory and injunctive relief under 42

U.S.C. § 1983. The district court thus had federal question subject-matter

jurisdiction over these claims. See 28 U.S.C. § 1331. The court entered a

declaratory judgment and permanent injunction on September 26, 2023.1

On October 23, 2023, the district court reserved its ruling on the City’s

liability for attorneys’ fees pending the outcome on appeal. The City filed

its notice of appeal on October 26, 2023.2 The Court of Appeals has

jurisdiction over this appeal under 28 U.S.C. § 1291. See also Budinich v.

Becton Dickinson & Co., 486 U. S. 196 (1988) (holding that a decision on

the merits is a “final decision” under §1291 even if the award or amount

of attorney’s fees for the litigation remains to be determined).




     1
         ROA.1240-95.
     2
         ROA.1909.

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          BRIEF OF APPELLANT CITY OF ABILENE, TEXAS

I.    STATEMENT OF THE ISSUES.

      1.      Whether Plaintiffs established a justiciable “Case or
              Controversy” against the City, despite the fact that the
              City has never sought to regulate their activities under
              S.B. 12 and has maintained strict neutrality on the
              constitutionality of S.B. 12 throughout this litigation.

      2.      Whether the judgment against the Texas Attorney
              General as to the constitutionality of S.B. 12 rendered
              moot Plaintiffs’ claims against the City for injunctive and
              declaratory relief.

      3.      Whether Plaintiffs failed to demonstrate a meritorious
              claim against the City under 42 U.S.C. § 1983, given that
              S.B. 12, a state statute, is not alleged to be, or is, an
              official city policy of the City’s final policymaker.

      4.      Whether the District Court abused its discretion in
              deferring its ruling on the City’s liability for an attorney
              fee award 42 U.S.C. § 1988, given that regardless of the
              outcome of this appeal on the merits, the City cannot be
              liable for attorneys’ fees on these facts and, thus, a
              remand for a determination of that issue will likely result
              in piecemeal appeals in this case.

II.   STATEMENT OF THE CASE.

      A.      Factual Background.

      The City of Abilene (the “City”) is a Texas home-rule municipality

operating under a city charter. See ABILENE CITY CHARTER.3 The City’s

      3
       A certified copy of the Charter was attached to, and referenced by
the City’s motion to dismiss. ROA.473-524. The City requests the Court to
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governing body and final policymaker is its elected City Council. Id., at

Art. II, Sec. 10 (“All powers and authority, including determination of all

matters of policy, which are expressly or by implication conferred on or

possessed by the city shall be vested in and exercised by the council. . . .”)

(emphasis added).

      Plaintiffs are a group of individuals and organizations that have

facially challenged the constitutionality of Texas Senate Bill 12 (S.B. 12).

S.B. 12 is a Texas state statute, not a city ordinance. No city law is

challenged in this case. The basis for Plaintiffs’ suit against the City of

Abilene and other local governments collectively is the assertion that

“Defendants [including the City] are sued because they are statutorily

tasked with enforcing this unconstitutional law.” Complt., at ¶ 2 (emphasis

added)4; see id., at ¶ 19.5

take judicial notice of the Charter. See, e.g., Overton v. Austin, 748 F.2d
941, 955 (5th Cir. 1984) (judicial notice of city charter); In re Waller Creek,
Ltd., 867 F.2d 228, 238 n.14 (5th Cir. 1989) (city ordinance judicially
noticed); Vela v. City of Houston, 276 F.3d 659, 682 n.26 (5th Cir.
2001)(“This court has stated that it is appropriate for us to take judicial
notice of a city ordinance on appeal even if it was not introduced into the
trial records.”) (citing In re Waller Creek).
      4
          ROA.21.
      5
          ROA.25.

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     S.B. 126 has three main parts.

     Section 1 adds Chapter 769 to the Texas Health & Safety Code, to

prohibit certain sexually oriented performances on the premises of a

“commercial enterprise.” It provides for a civil penalty which the Texas

Attorney General may enforce. Id. The City of Abilene has no enforcement

powers under Section 1 of S.B. 12.

     Section 2 adds Section 243.0031 to the Texas Local Government

Code. This provision prohibits cities and counties from allowing a “sexually

oriented performance” on public property or in the presence of a minor. Id.,

at § 243.031(c). This provision also authorizes cities and counties to

“regulate” sexually oriented performances under the police power of these

entities, but does not mandate that local governments enact any such

regulations. Id., at § 243.031(b). No allegation has been made in this case

that the City has proposed to enact any new ordinance or regulation

pursuant to the regulatory authority delegated by Section 243.031(b).

     Section 3 adds Section 43.28 to the Texas Penal Code. It defines a

“sexually oriented performance” id., at § 43.28(a)(2), and criminalizes



     6
         ROA.168-73.

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“sexually oriented performances” conducted in the presence of a minor or

on public property where a minor could reasonably be expected to view the

performance. Id., at § 43.28(b), (c).

      The only Plaintiff that claims any chilling effect from the potential

enforcement of S.B. 12 within the City of Abilene is the Abilene Pride

Alliance (“APA”). The allegations on this claim are as follows:

              The Abilene Pride Alliance is currently planning its
              annual Pride event on September 30, 2023, which
              will feature a parade through Abilene’s public
              downtown streets and a festival at the Expo Center
              of Taylor County. The Expo Center of Taylor
              County is operated by a non-profit organization
              who rents the facility from Taylor County. The City
              of Abilene has issued a permit for the parade.

Complt., at ¶ 83 (emphasis added).7

      The italicized allegation confirms that the City has affirmatively

permitted the very action that APA feels “chilled” to undertake. Allegedly,

Plaintiff APA “fears that, if SB 12 takes effect, its permit for the use of

Abilene’s city streets may be revoked—with no established due process or

recourse—by the City of Abilene.” Complt., at ¶ 86.8


      7
          ROA.47.
      8
          ROA.48.

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     The District Court, adopting nearly verbatim Plaintiffs’ proposed

Findings of Fact, ignored undisputed evidence that demonstrates no

Article III “Case or Controversy” between these Plaintiffs and the City of

Abilene.

     The only Plaintiff shown to have any plans whatsoever to host

drag-type festivals and activities within the City of Abilene is APA.9 None

of the other four Plaintiffs – The Woodlands Pride, Inc, Extragrams, LLC,

360 Queen Entertainment LLC, or Brigitte Bandit – offered any evidence

showing any plan to host or engage in any drag performances, festivals, or

related activities within the City.

     In September 2022, the City permitted APA to host a street parade

that featured drag performers on street floats. In conjunction with that

street parade, the City also permitted a Pride Festival featuring drag

performances at a City park.10 APA’s street parade and festival were

conducted in an age-appropriate manner that did not involve performers




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         ROA.1448-51.
     10
          ROA.1452-56.

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dressing indecently (exposing breasts, buttocks, or genitals) or engaging

in simulated sex acts in the presence of children.11

     The drag performances hosted by APA do involve performers wearing

sequins, wigs, breastplates, hip pads, packers (that simulate a penis

bulge), and exaggerated jewelry. The performers typically dance, lip synch,

and engage with the audience by hugging, kissing on the cheek, sometimes

bumping hips.12 However, no one intentionally makes physical contact

with another’s breasts except by hugging.13 The performers’ dances do not

involve gestures or gesticulations that are sexually-oriented.14 The packers

worn by ‘drag-king’ performers do not simulate an erect penis.15

     Before suit was filed, APA had applied for, and the City granted, a

permit for APA to host its street parade, then scheduled for September 30,

2023.16 At trial, APA’s representative, Gavyn Hardegree, testified that


     11
          ROA.1452-56.
     12
          ROA.1452-56.
     13
          ROA.1465-66.
     14
          ROA.1466.
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          ROA.1468-69.
     16
          ROA.1456.

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APA’s then-planned 2023 parade would be similar in content to its 2022

parade.17 APA did not plan or propose for its 2023 festival to be conducted

on city property.18

      APA did not plan or intend to engage in the various forms of conduct

that Plaintiffs claimed might violate S.B. 12.19 No proof was offered to

show that the City intended to revoke the permit granted to APA to

conduct its 2023 street parade, although APA subjectively fears the City

might do so. No proof was submitted to show that the City of Abilene

believed, or had reason to believe, that the planned parade would violate

S.B. 12. As of the date of trial, APA still planned to host its 2023 parade.20

      No evidence was submitted to show that any threat of prosecution by

the City had any chilling effect on any planned speech or expression by

APA on public property over which the City has any power or legal

authority to control. Hardegree admitted he never “had any hassle from




      17
           ROA.1457.
      18
           ROA.1456.
      19
           ROA.1467-76.
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           ROA.1456.

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the municipality.”21 On one occasion, a call was made to police by an

unspecified caller during a drag show function hosted by APA.22 The

purpose of the call is unknown.23 Police responded to the call, asked

questions, then left.24 No arrests were made or charges filed.25

     Plaintiffs adduced no evidence showing that the City proposes to

issue any regulations pursuant to the authority conferred by S.B. 12’s new

Section 243.0031(b) of the Texas Local Government Code. In this

litigation, the City has maintained neutrality on the constitutionality of

S.B. 12.

     B.      Procedural Background.

     S.B. 12 was scheduled to take effect on September 1, 2023.26

Plaintiffs filed this pre-enforcement facial challenge of S.B. 12 on August




     21
          ROA.1456.
     22
          ROA.1466-67.
     23
          ROA.1467.
     24
          ROA.1467.
     25
          ROA.1467.
     26
          See S.B. 12, Sec. 5 ROA.172.

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2, 2023.27 Plaintiffs moved for a preliminary injunction on August 9.28 On

August 14, the district court ordered that the preliminary injunction

hearing would be consolidated with a trial on the merits, setting the trial

for August 28, 2023.29 On August 18, 2023, court ordered Defendants to file

responses to the motion for preliminary injunction by August 23.30

     On August 21, 2023, the City filed a motion to dismiss for want of

subject, or alternatively, for failure to state a claim.31 On August 22, the

City filed its response to the motion for preliminary injunction.32

     The case was tried to the bench between August 28-29, 2023.33

Following the close of the evidence, the court issued a temporary

injunction enjoining Defendants from enforcing S.B. 12 while the Court




     27
          ROA.20-64.
     28
          ROA.104-228.
     29
          ROA.241-42.
     30
          ROA.304.
     31
          ROA.473-524.
     32
          ROA.528-37.
     33
          ROA.957, 959.

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prepared its findings and conclusions.34 The City timely submitted its

proposed findings of fact and conclusions of law on September 6. 35

     The court entered its findings of fact and conclusions of law on

September 26, 2023.36 The court declared S.B. 12 an unconstitutional

restriction on free speech and enjoined all Defendants, including the City,

from enforcing it.37 The court’s fact findings and legal conclusions make no

determination as to attorney fee liability, although the City, in its

proposed findings and conclusions, contended that it should not be held

liable for an attorney fee award, even if the court decided to strike down

S.B. 12.38 Following issuance of judgment, the court denied the City’s still

pending motion to dismiss “as moot.”39




     34
          ROA.960-64.
     35
          ROA.966-90.
     36
          ROA.1224-95.
     37
          ROA.1295.
     38
          ROA.988-89.
     39
          ROA.1328-30.

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     On October 6, 2023, Plaintiffs moved to extend the time to submit

their bill of costs and attorneys fees until after this appeal was decided.40

On the same day, the City opposed that motion, requesting that the court

then decide whether the City could be held liable in a case of this nature

for attorneys’ fees and costs. The City argued as follows:

             A postponement of a determination of Plaintiffs’
             right to recover attorneys’ fees against the City will
             not promote judicial economy or economy for the
             City. Whether the City is liable for Plaintiffs’ costs
             or attorneys’ fees, and if so, the financial burden of
             that liability, will factor into whether the City will
             appeal the Judgment. If the liability beyond the
             injunction itself will be granted, the City would
             want to appeal both rulings in the same appeal.
             The piecemeal appeal forecast by the Plaintiffs will
             be assured if the City, without notice of its financial
             fee liability[,] must first appeal whether Plaintiffs
             are prevailing parties as to the City and then later
             appeal any fee award imposed after the initial
             appeal.41




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          ROA.1852-58.
     41
          ROA.1860-61.

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     On October 23, 2023, the court granted Plaintiffs’ motion deferring

its ruling on the City’s liability for costs and attorneys’ fees.42 The City

timely appealed on October 26, 2023. 43

III. SUMMARY OF ARGUMENT.

     S.B. 12 is a Texas state statute, not a city ordinance. Plaintiffs never

alleged or showed that the City adopted any ordinance adopting S.B. 12 as

an official city policy, and no evidence exists to show the City promulgated,

or proposes to promulgate, any city regulation authorized by Section 2 of

S.B. 12. No evidence exists to show the City as such has ever threatened

to enforce S.B. 12 in a manner that punishes any of the types of activities

these Plaintiffs customarily engage in. Indeed, none of the Plaintiffs

besides Abilene Pride Alliance plans to host any drag-type entertainment

in Abilene; and historically, the City has permitted Abilene Pride Alliance

to conduct the activities it wants to continue.

     Thus, there is no Article III “Case of Controversy” between Plaintiffs

and the City. On the issue of whether S.B. 12 is or is not a valid,



     42
          ROA.1894-95.
     43
          ROA.1909.

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constitutional law, the State (through the Texas Attorney General)

appeared and defended the validity of the law, while the City at all stages

of the litigation has taken a neutral stance on that issue. The City has no

legal interest adverse to Plaintiffs on whether S.B. 12 is a valid law.

Plaintiffs point to no action of the City’s to cause them to self-censor.

     Furthermore, to the extent there ever was a live controversy between

Plaintiffs’ and the City, the district court’s judgment against the Attorney

General declaring S.B. 12 unconstitutional renders the case against the

City moot. Under the doctrine of virtual representation, the judgment

against the Texas Attorney General binds all state and local officials who

are authorized and directed to act in accordance with S.B. 12 (at least until

a superior court says otherwise). The claimed chill from prospective

enforcement by the City – if any – thus evaporated when the law was

struck down by a federal judgment binding on the State’s highest legal

representative. There is no basis for assuming that the City of Abilene

needs to be ordered not to enforce a state law which the State itself has

been forbidden to enforce. There is no need for federal courts striking down




                                       13
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state laws to issue separate injunctions to local entities just for good

measure.

      It is unfortunate that the merits argument cannot precede

jurisdiction, because the failure of Plaintiffs’ 1983 claim against the City

is comparatively simple. To secure declaratory or injunctive relief against

a City under Section 1983, a plaintiff must prove that the constitutional

injury they claim has resulted from an official city policy promulgated by

the City’s final policymaker, its City Council. Section 1983 is a tort statute.

It allows neither respondeat superior nor respondeat inferior liability. For

a declaratory judgment or injunction to issue against the City, the City

itself, through its own policymaker, must be shown to be the tortfeasor.

      In its rush to judgment, the district court overlooked the City’s

merits argument entirely - the City as such committed no constitutional

tort. Although the court correctly pointed out that cities are “persons”

under Section 1983 and lack the sovereign immunity enjoyed by the State

of Texas, the court never answered whether Plaintiffs proved the prima

facie elements of a Monell claim against the City. Whether a city

theoretically can be liable under Section 1983 is beside the point. The



                                       14
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policy at issue here is a state statute, not a city ordinance; thus, the

requisite element of a city policy is missing. Moreover, the policy is one

enacted not by the City’s final legislative policymaker but by the State’s

– its very own Legislature. The District Court plainly erred in disregarding

the long line of controlling cases of the Supreme Court, the Fifth Circuit,

and every other circuit court to address the issue – local governments are

not liable under Section 1983 for state statutory mandates compelling local

official action.

      The district court also abused its discretion in deferring its decision

on whether City is liable for Plaintiffs’ attorneys’ fees. In cases brought to

enjoin local actors from carrying out an unconstitutional state mandate,

it is improper to award attorneys’ fees against the local government for

which those local actors serve. The district court’s postponement of its

ruling on that question creates a potential for multiple appeals, unless this

Court renders the judgment of non-fee liability that the court below should

have rendered.




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IV.   ARGUMENT.

      A.   Standard of Review.

      “The standard of review for a bench trial is well established: findings

of fact are reviewed for clear error and legal issues are reviewed de novo.”

Guzman v. Hacienda Records & Recording Studio, Inc., 808 F.3d 1031,

1036 (5th Cir. 2015) (quotation marks and citation omitted); see also FED.

R. CIV. P. 52(a)(6). “A finding made by the district court ‘is clearly

erroneous when although there is evidence to support it, the reviewing

court on the entire evidence is left with the definite and firm conviction

that a mistake has been committed.’” Providence Behavioral Health v.

Grant Rd. Pub. Util. Dist., 902 F.3d 448, 455 (5th Cir. 2018) (quoting

Guzman, supra). “Put differently, ‘a finding is clearly erroneous if it is

without substantial evidence to support it, the court misinterpreted the

effect of the evidence, or this court is convinced that the findings are

against the preponderance of credible testimony.’” Id. (quoting Petrohawk

Props., L.P. v. Chesapeake Louisiana, L.P., 689 F.3d 380, 388 (5th Cir.

2012)).




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     In actions tried upon the facts to a court, “the findings and

conclusions must be sufficient in detail and exactness to indicate the

factual basis for the ultimate conclusion reached by the court.” Colonial

Penn Ins. v. Market Planners Ins. Agency, 157 F.3d 1032, 1037 (5th Cir.

1998) (internal quotations omitted). This Court reviews “de novo whether

those findings support a judgment against [the defendant], as that is a

legal conclusion.” Id.

     B.    Lack of Justiciable Controversy with the City.

           1.    Standing, Generally.

     “Under Article III of the Constitution, the federal courts have

jurisdiction over a claim between a plaintiff and a defendant only if it

presents a ‘case or controversy.’” Okpalobi v. Foster, 244 F.3d 405, 425 (5th

Cir. 2001) (en banc). “This is a ‘bedrock requirement.’” Id. (quoting Raines

v. Byrd, 521 U.S. 811, 818 (1997)). To establish a case or controversy

sufficient to give a federal court jurisdiction over their claims, Plaintiffs

must satisfy three criteria. Id. (citing Lujan v. Defenders of Wildlife, 504

U.S. 555, 560 (1992)):

           First, they must show that they have suffered, or
           are about to suffer, an “injury in fact.” Second,


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           “there must be a causal connection between the
           injury and the conduct complained of.” Third, “it
           must be likely, as opposed to merely speculative,
           that the injury will be redressed by a favorable
           decision.” If any one of these three elements –
           injury, causation, and redressability – is absent,
           plaintiffs have no standing in federal court under
           Article III of the constitution to assert their claim.

Okpalobi, 244 F.3d at 425 (quoting Lujan, 504 U.S. at 560 (internal

citation omitted).

     “The party invoking federal jurisdiction bears the burden of

establishing standing.” Susan B. Anthony List v. Driehaus, 573 U.S. 149,

158 (2014) (internal quotations omitted). “Each element must be supported

in the same way as any other matter on which the plaintiff bears the

burden of proof, i.e., with the manner and degree of evidence required at

the successive stages of the litigation.” Id. (internal quotations omitted).

           2.    No ‘Standing in Gross’ Among Defendants.

     Because “standing is not dispensed in gross,” Town of Chester, N.Y.

v. Laroe Estates, Inc., 581 U.S. 433, 439 (2017), “a plaintiff must

demonstrate standing for each claim he seeks to press.” DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 352 (2006). To do so, each plaintiff must

demonstrate that it has standing separately as to each defendant. See


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Daves v. Dallas Cnty., 22 F.4th 522, 542 (5th Cir. 2022) (en banc)

(“Standing to sue one defendant does not, on its own, confer standing to

sue a different defendant.”); Fontenot v. McCraw, 777 F.3d 741, 746 (5th

Cir. 2015) (“The court must evaluate each plaintiff’s Article III standing

for each claim; ‘standing is not dispensed in gross.’”)(quoting Lewis v.

Casey, 518 U.S. 343, 358 n.6 (1996)).

      In this pre-enforcement facial challenge to a state statute, it is

important to distinguish the separateness of the State of Texas, which

enacted S.B. 12, and local officials allegedly charged with enforcing it.

Through their Constitution, the sovereign people of Texas have created the

“Government of the State of Texas,” divided in three distinct departments

– legislative, executive, and judicial. TEX. CONST., Preamble; art. I, § 1; art.

II, § 2. Through the home-rule amendment to the Texas Constitution, the

people of Texas have granted the residents of most Texas cities the power

of local self-government through the adoption of a city charter. Id., at art.

XI, § 5; BCCA Appeal Grp., Inc. v. City of Houston, 496 S.W.3d 1, 7 (Tex.

2016) (“[h]ome-rule cities possess the power of self-government and look




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to the Legislature not for grants of authority, but only for limitations on

their authority”). As the Texas Supreme Court has declared:

             The governing body of a [Texas home-rule] city is
             not required to look to the [Texas] Legislature for a
             grant of power to act. Such power is given by the
             Constitution. The governing body only looks to acts
             of the Legislature to ascertain if it has placed any
             limitations on the power to act as granted by
             Article XI, Section 5.

State ex rel. Rose v. La Porte, 386 S.W.2d 782, 785 (Tex. 1965).

     A certified copy of the Abilene City Charter was submitted below in

support of the City’s motion to dismiss, and the City requests the Court of

Appeals to judicially notice the Charter for purposes of this appeal.44 As a

home-rule city, Abilene is not an agency of the Government of the State of

Texas. The City was created by the eligible resident voters pursuant to the

Home-Rule Amendment, not by the Texas Legislature. The City lacks

state-wide jurisdiction. The City as such neither enacts nor enforces the

Texas Penal Code. Licensed peace officers authorized by the State

Government enforce statutory criminal law. State statutes may limit or




     44
          ROA.489-524.

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curtail municipal authority, but a state statute is not the official policy of

the local municipal government.

      Here, no claim is made that the City itself threatens to enforce a

facially constitutional law in an unconstitutional manner, let alone that

the City has done so already. Plaintiffs fear that S.B. 12, if and when

effective, will direct City actors to infringe their constitutional rights,

alleging the City “[is] sued because [it is] statutorily tasked with enforcing

this unconstitutional law [S.B. 12].” Complt., at ¶ 2 (emphasis added)45; see

also id., at ¶ 1946. Plaintiffs contend that once the State adopted S.B. 12,

it became a City policy, just as if the City had adopted it.47 The district

court appears to have followed this same reasoning into error.


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           ROA.21.
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           ROA.25.
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       The end-run used by Plaintiffs to skirt the requisites for
challenging state legislation under Ex Parte Young is palpable. The City
became the equivalent of the State Government for purposes of standing,
but the City remains a mere municipal subdivision of the State for
purposes of Section 1983 “person”-hood, lacking of state sovereign
immunity. In this way, a municipality with no interest in the legal
controversy over whether a state law is constitutional becomes a sham
defendant, joined only for the plaintiff to secure a ruling striking down the
law and a deep pocket to absorb the cost of litigation of a controversy not
even remotely of the City’s making.

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      State statutes mandating local governmental action are not treated

as local mandates. “When a state statute directs the actions of an official,

. . . the officer, be he state or local, is acting as a state official.” Echols

v. Parker, 909 F.2d 795, 799 (5th Cir. 1990) (emphasis added); see also

Buffin v. California, 23 F.4th 951, 962 (9th Cir. 2022) (“any officer, be he

state or local, is acting as a state official, i.e., a state agent when a state

statutory regime comprehensively directs his actions”) (internal quotations

omitted) (citing Echols, 909 F.2d at 799 (5th Cir. 1990)).

      As the City will again argue in the merits section of this brief below,

see pp. 34-43, Section 1983 local governmental liability cannot be based

upon state statutory mandates. See, e.g., McMillian v. Monroe Cty., 520

U.S. 781, 784-85 (1997) (under Section 1983, county official whose duties

are imposed by state law does not create liability for the county when he

carries out those duties); Daves v. Dallas Cnty., 22 F.4th 522, 545 (5th Cir.

2022) (en banc) (“if there is no defendant county official who acts as a

policymaker as to the function at issue, then the County must be dismissed

as a party”) (citing McMillian, 520 U.S. at 783).48


      48
       Familias Unidas v. Briscoe, 619 F.2d 391, 404 (5th Cir. 1980);
Crane v. Texas, 759 F.2d 412, 430 (5th Cir. 1985); Bigford v. Taylor, 834

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      On the jurisdictional front, Plaintiffs cannot show they have any

justiciable controversy with the City. The City is not a state actor. S.B. 12

is not city policy. It does not direct the City as such to prosecute Plaintiffs

for sporting ‘packers’ in the presence of children. There is no city official

sued in this case as a “state actor” under Ex parte Young. Accordingly,

there is no present case or controversy between Plaintiffs and the City as

such. Daves, 22 F.4th at 532 (holding no standing to sue county even

though county sheriff could arguably be sued as state actor under Ex parte

Young).49


F.2d 1213, 1223 (5th Cir. 1988); Arnone, 29 F.4th at 266 (affirming
dismissal of county where actions of county official were directed by state
law).
      49
         Plaintiffs have not sued the City of Abilene under Ex parte Young.
They have not alleged anything resembling the “requisites” for the Ex
parte Young to apply to the City. A Young suit must be brought against an
official in his official capacity, and the plaintiff must show that “the state
official, ‘by virtue of his office,’ must have ‘some connection with the
enforcement of the [challenged] act, or else [the suit] is merely making him
a party as a representative of the state, and thereby attempting to make
the state a party.’” City of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir.
2019) (quoting Ex parte Young, 209 U.S. 123, 157(1908)); cf. Kentucky v.
Graham, 473 U.S. 159, 169 (1985). The City as such is plainly not an
“individual state official.” See Daves, 22 F.4th at 542 (holding that where
district and county judges acted for the State of Texas when they created
bail schedules and that such actions could be subject to a claim for
prospective relief under Ex parte Young, but such officials “cannot create

                                       23
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           3.    No ‘Standing in Gross’ Among Plaintiffs.

     None of the Plaintiffs except for Abilene Pride Alliance has alleged,

or attempted to prove, that the prospective enforcement of S.B. 12 will

chill drag performances in the City of Abilene. Nor did the district court

make any fact finding of any legally cognizable self-censorship on the part

of any of these other Plaintiffs due to fear of enforcement of S.B. 12 by the

City of Abilene. Thus, the district court erred in refusing to dismiss for

lack of subject-matter jurisdiction all of the claims against the City

brought by Woodlands Pride, Extragrams, 360 Queen, or Bandit. See

Fontenot, 777 F.3d at 746-47.

           4.    No Standing Under Luhan Elements.

     The district court’s lumping together all of the defendants as one

undifferentiated entity for its standing analysis can also be shown to spill

over into the court’s misapplication of the specific Luhan elements vis a vis

Plaintiffs’ suit to enjoin the City from enforcing S.B. 12.




liability for Dallas County for those actions”).

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                 a.    S.B. 12, Section 1.

     Section 1 of S.B. 12, which amends the Texas Health and Safety

Code to add a new Chapter 769, entitled “Sexually Oriented

Performances,” does not empower the City or any of its officials to enforce

that part of S.B. 12. Section 1 may only be enforced by the Texas Attorney

General. Therefore, the City is an improper defendant for the purposes of

facially challenging the constitutionality of Section 1 of S.B. 12 and

seeking an injunction prohibiting the City’s enforcement of that part of the

law. Okpalobi v. Foster, 244 F.3d 405, 426-27 (5th Cir. 2001) (“Because

these defendants have no powers to redress the injuries alleged, the

plaintiffs have no case or controversy with these defendants that will

permit them to maintain this action in federal court.”).

                 b.    S.B. 12, Section 2.

     Section 2 of S.B. 12 adds a new Section 243.0031 to the Texas Local

Government Code, which both authorizes municipalities to regulate

“sexually oriented performances” (see id., § 243.0031(b)), hereinafter, the

“Municipal Authorization Provision”); and prohibits municipalities from

authorizing such performances on public property or in the presence of



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minors (id., at § 243.0031(c), hereinafter, the “Municipal De-Authorization

Provision”).

      The City is not a proper party for challenging the facial

constitutionality of the Municipal Authorization Provision. As discussed

above, the City’s powers flow directly from the Texas Constitution through

the Abilene City Charter. The City did not crown itself with that power,

Napoleon-like. More importantly, no evidence (much less any court

finding) establishes that the City of Abilene stands ready to enact any

regulation pursuant to the Authorization Provision. No justiciable

controversy exists to enjoin the “enforcement” of a regulatory power the

City has no demonstrated intention of ever exercising. See Nixon v.

Administrator of Gen. Serv., 433 U.S. 425, 438 (1977) (“For [the Court] to

review regulations not yet promulgated, the final form of which has been

only hinted at, would be wholly novel.”); Western Mining Council v. Watt,

643 F.2d 618, 627 (9th Cir. 1981) (“The mere possibility that the Secretary

may act in an arguably unconstitutional manner pursuant to one or more

of [the legislative acts] is insufficient to establish the ‘real and substantial

controversy’ required to render a case justiciable under Article III.”);



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Younger v. Harris, 401 U.S. 37, 42 (1971) (“persons having no fears of state

prosecution except those that are imaginary or speculative, are not to be

accepted as appropriate plaintiffs”).

      The injunction prohibiting the City from “enforcing” S.B. 12’s

Municipal De-Authorization Provision, is also misdirected and nonsensical.

As already discussed, it is the Government of the State of Texas – to wit,

its Legislative branch – that has prohibited Texas municipalities from

permitting “sexually oriented activities” in certain contexts. This portion

of S.B. 12 does not command the City to punish, prosecute, or sanction

“sexually oriented performances.” It merely prohibits cities from

permitting certain activities in public places. Under the Home Rule

Amendment of the Texas Constitution, a city has no power to nullify or

repudiate a state statute, particularly one that limits municipal power. See

generally Republic Waste Servs. of Tex. v. Tex. Disposal Sys., 848 F.3d 342,

346 (5th Cir. 2016) (discussing statutory abrogation of home-rule

municipal authority). Thus, any claimed “chill” from S.B. 12’s limitation

on municipal power is traceable to the state law itself, not to the disability

imposed by law on the municipality’s powers.



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      The evidence established that the City has not denied any permit to

any of these Plaintiffs to engage in their planned activities. Instead, as of

the time of trial, the City had already granted Abilene Pride Alliance a

permit to host its parade; and no evidence was adduced to show that the

City threatened to revoke the permit when S.B. 12 took effect. APA did not

show it modified its permit application in fear of the new law criminalizing

the performances that the City had customarily allowed. No evidence

exists to show how the mere act of applying for a parade permit in the

future can or will result in self-censorship. See Miller v. City of Wickliffe,

852 F.3d 497, 506 (6th Cir. 2017) (“merely applying for a license, as

opposed to engaging in some allegedly protected conduct and fearfully

waiting for potential prosecution, does not carry the same risk that is

normally seen in facial-challenge cases”); Police Dep’t v. United Reporting

Publ’g Corp., 528 U.S. 32, 41 (1999) (“Resort to a facial challenge here is

not warranted because there is ‘no possibility that protected speech will be

muted.’”) (quoting Bates v. State Bar of Arizona, 433 U.S. 350, 380 (1977)).




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                     c.   S.B. 12, Section 3.

      Section 3 of S.B. 12 amends the Texas Penal Code by creating a new

Section 43.28 to the Code. The City as such is not an enforcement

authority under the Texas Penal Code or the Texas Code of Criminal

Procedure. See generally, TEX. CODE CRIM. PROC. art. 2.12 (defining “peace

officers” as officers licensed by the State under the Texas Occupations

Code); art. 2.13 (assigning Code enforcement duties to “peace officers,” not

to cities per se).

      Under Texas law, the City as such has no legal power to enforce the

Texas Penal Code. See Office of the AG v. Weatherspoon, 472 S.W.3d 280,

283 (Tex. 2015) (“An entire agency does not become an appropriate

law-enforcement authority merely because some divisions have such

power.”); Jones v. City of Port Arthur, No. 09-14-00442, 2016 Tex. App.

LEXIS 12357, *23 (Tex. App.—Beaumont 2016, no pet.) (mem. op.) (“That

the City has a division within it, the Police Department, charged with

investigating and prosecuting crimes, does not transform the entire City

as a governmental entity into an appropriate law-enforcement entity.”)

(following Weatherspoon, supra).



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      Accordingly, the City as such is an improper defendant in a pre-

enforcement facial challenge of the constitutionality of Section 3 of S.B. 12.

Okpalobi v. Foster, 244 F.3d 405, 426-27 (5th Cir. 2001) (“Because these

defendants have no powers to redress the injuries alleged, the plaintiffs

have no case or controversy with these defendants that will permit them

to maintain this action in federal court.”). An injunction prohibiting the

City as such from enforcing a Penal Code provision grants no redress,

because the City lacks power in its capacity as the common law employer

of city police to prohibit these officers from any carrying out official duties

imposed on them by state statutes. That municipal police officers have

theoretical power pursuant to their state-issued peace officer licences to

arrest violators of the Texas Penal Code does not create any chill traceable

to the City as such.

            5.    Mootness.

      The “case-or-controversy requirement subsists through all stages of

federal judicial proceedings, trial and appellate.” Lewis v. Continental

Bank Corp., 494 U.S. 472, 477 (1990); see also Steffel v. Thompson, 415

U.S. 452, 459 n.10 (1974) (“The rule in federal cases is that an actual



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controversy must be extant at all stages of review, not merely at the time

the complaint is filed.”). “[A] case is moot when the issues presented are

no longer ‘live’ or the parties lack a legally cognizable interest in the

outcome.” City of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000) (citations

and quotations omitted).

     Even if, arguendo, this suit against the City of Abilene were ever a

ripe controversy in the first place, it became moot with the issuance of the

permanent injunction against the Texas Attorney General. The injunction

against the State AG is res judicata as to the unconstitutionality of S.B.

12, and all local officials who derive their enforcement power through state

law are bound by that judgment through the doctrine of virtual

representation. See Harris County v. Carmax Auto Superstores Inc., 177

F.3d 306, 318 (5th Cir. 1999) (recognizing that “a local law enforcement

official is bound when his interests are represented by the state attorney

general”) (citing cases); see also Buquer v. City of Indianapolis, No.

1:11-cv-708-SEB, 2013 U.S. Dist. LEXIS 45084, 2013 WL 1332158 (S.D.

Ind. Mar. 28, 2013) (after invalidating a state law on a facial challenge,




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court dismissed Section 1983 claim for injunctive relief against a city as

“no longer ripe for adjudication”).

     The district court acknowledged that under Carmax Auto

Superstores, local officials are bound by the Court’s ruling against the

Texas Attorney General, stating: “The Court notes that a final judgment

finding S.B. 12 unconstitutional and enjoining the Texas Attorney General

from enforcing it binds all state and local governmental actors commanded

or authorized to act under it.”50 (citing Carmax Auto Superstores, 177 F.3d

at 318). Yet the court stopped short of holding the controversy moot as to

the City – at least for now: “Therefore, while the Defendants are proper

parties, Plaintiffs’s [sic] claims may become moot as to all Defendants

except for Paxton.”51 If not now, then when?

     A demonstration of irreparable injury is “a traditional prerequisite

to injunctive relief,” Steffel, 415 U.S. at 471, and in the wake of the

judgment against the Attorney General no such threat by the City has




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          ROA.1264.
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          Id. (emphasis added).

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been shown.52 The judgment against Texas Attorney General is res

judicata as to all local officials who may purport to act under the authority

of S.B. 12, unless and to the extent a higher federal court – this Court –

holds otherwise. The final judgment ends any live controversy with the

City, since there is no objectively demonstrable prospect of the City

directing its officials to enforce a law that the district court has declared

unconstitutional. There is nothing in the evidence to suggest that the City,

which has taken no stand on the validity of the law, will now treat the law

as valid unless the municipality is also enjoined from enforcing it.




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        See also id. at 477 (White. J., concurring) (“I would anticipate that
a final declaratory judgment entered by a federal court holding particular
conduct of the federal plaintiff to be immune on federal constitutional
grounds from prosecution under state law should be accorded res judicata
effect in any later prosecution of that very conduct. There would also, I
think, be additional circumstances in which the federal judgment should
be considered as more than a mere precedent bearing on the issue before
the state court.”); id., at 483 (Rehnquist, J., concurring) (“‘The persuasive
force of the federal court’s opinion and judgment may lead state
prosecutors, courts, and legislators to reconsider their respective
responsibilities toward the statute. Enforcement policies or judicial
construction may be changed, or the legislature may repeal the statute and
start anew.’”) (brackets and emphasis omitted) (quoting Perez v. Ledesma,
401 U.S. 82, 125 (1971) (Brennan, J., concurring and dissenting in part)).

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      C.    No Evidence to Support Section 1983 Municipal
            Liability.

      To be entitled to a permanent injunction, a plaintiff must

demonstrate, among other things, “actual success on the merits.” See eBay

Inc. v. MercExch., LLC, 547 U.S. 388, 391 (2006). The evidence does not

prove a meritorious claim against the City of Abilene.

      “[C]laims brought pursuant to § 1983 sound in tort.” City of Monterey

v. Del Monte Dunes, 526 U.S. 687, 709 (1999). “[U]nder § 1983, local

governments are responsible only for ‘their own illegal acts.’” Connick v.

Thompson, 563 U.S. 51, 60 (2011) (emphasis original in Connick) (quoting

Pembaur v. City of Cincinnati, 475 U.S. 469, 479 (1986)); see also Monell

v. New York City Dept. of Social Servs., 436 U.S. 658, 665-83 (1978). “It is

well-established that a city is not liable under § 1983 on the theory of

respondeat superior.” Peterson v. City of Fort Worth, 588 F.3d 838, 847 (5th

Cir. 2009) (citing Monell). Likewise, no Section 1983 liability can be

imposed on the theory of “respondeat inferior” either – that is, “imputing

statutory liability in the opposite direction, from a culpable principal to an

innocent agent.” Coleman v. Houston Indep. Sch. Dist., 113 F.3d 528, 535




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(5th Cir. 1997) (quoting Brownlee v. Lear Siegler Management Servs.

Corp., 15 F.3d 976, 978 (10th Cir. 1994)).

     Section 1983 claims against a local government “require three

elements: ‘(1) a policymaker; (2) an official policy; and (3) a violation of a

constitutional right whose ‘moving force’ is the policy or custom.” Arnone

v. Dallas Cnty., 29 F.4th 262, 265-66 (5th Cir. 2022) (quoting Alvarez v.

City of Brownsville, 904 F.3d 382, 389 (5th Cir. 2018) (en banc)). “This

‘policy or custom’ requirement extends to claims for injunctive and

declaratory relief.” Robinson v. Hunt Cty., 921 F.3d 440, 447 (5th Cir. 2019)

(citing Los Angeles County v. Humphries, 562 U.S. 29, 31 (2010)).

     All three elements of Monell liability are missing in the evidence – no

city policy, no city policymaker fault, and no causal nexus between any city

policy and the claimed pre-enforcement chill alleged by these Plaintiffs. The

fact that the district court omitted any discussion of the Monell elements

in its findings and conclusions suggests that the court agreed with the

Plaintiffs that these essential elements are of no consequence in a pre-

enforcement challenge. This City strongly differs on this point of law.




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      The City of Abilene is not liable under Section 1983 for just any

official policy that may violate these Plaintiffs’ constitutional rights. Only

a policy of the City’s own – a policy of the City itself – must be shown to

have caused Plaintiffs’ injuries. See Arnone v. Cnty. of Dallas Cnty., 29

F.4th 262, 266 (5th Cir. 2022) (“Dallas County can be held liable only for

those decided or acquiesced to by a county policymaker.”) (emphasis

original). “Section 1983 litigation requires [the Court] to identify the level

of government for which an official was acting when establishing the policy

that is relevant to the claims.” Daves v. Dallas Cnty., 22 F.4th 522, 533 (5th

Cir. 2022) (en banc) (citing McMillian v. Monroe Cnty., 520 U.S. 781,

784-85 (1997)).

      The City’s final policymakers are “the officials or governmental bodies

who speak with final policymaking authority for the local governmental

actor concerning the action alleged to have caused the particular

constitutional or statutory violation at issue.” Bolton v. City of Dallas, 541

F.3d 545, 548 (5th Cir. 2008) (quoting McMillian, 520 U.S. at 784-85

(quoting Jett v. Dallas Indep. Sch. Dist., 491 U.S. 701, 737 (1989))); see also

City of St. Louis v. Praprotnik, 485 U.S. 112, 124-25 (1988). The issue of



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who is the final policymaker for purposes of Section 1983 municipal

liability is a question of state and local law, reviewed de novo on appeal.

See Groden v. City of Dallas, 826 F.3d 280, 284 (5th Cir. 2016) (and cases

cited). Under the Abilene City Charter, the relevant final policymaker for

the City is its elected City Council. See ABILENE CHARTER, Art. 2, § 10.53

     Section 1983 local governmental liability cannot be based upon state

statutory mandates, for the simple reason that a state law is not a city

policy of the City’s final policymaker. See, e.g., McMillian v. Monroe Cty.,

520 U.S. 781, 784-85 (1997) (sheriff carrying out statutory duties imposed

by the state was not acting as a county policymaker; hence, affirming

denial of Section 1983 county liability); see also Familias Unidas v. Briscoe,

619 F.2d 391, 404 (5th Cir. 1980) (holding that a county was not liable

under § 1983 for county’s judge’s enforcement of a state statute); Crane v.

Texas, 759 F.2d 412, 430 (5th Cir. 1985) (“[L]ocal governments and their

officials who act in conformance with a state statutory scheme will not be

held liable for § 1983 damages if the scheme is later held

unconstitutional.”); Bigford v. Taylor, 834 F.2d 1213, 1223 (5th Cir. 1988)



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          ROA.493.

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(a local magistrate is not a county policymaker when carrying out the

statutory policy of the State of Texas); Arnone, 29 F.4th at 266 (affirming

dismissal of county where actions of county official were directed by state

law); Daves, 22 F.4th at 545 (“if there is no defendant county official who

acts as a policymaker as to the function at issue, then the County must be

dismissed as a party”) (citing McMillian, 520 U.S. at 783); Echols v. Parker,

909 F.2d 795 (5th Cir. 1990) (local county officials who arrested the

plaintiffs under the state’s anti-boycott statute were acting as state rather

than county actors, reasoning: “A county official pursues his duties as a

state agent when he is enforcing state law or policy. He acts as a county

agent when he is enforcing county law or policy.”); West v. Congemi, 28 F.

Supp. 2d 385, 394 (E.D. La. 1998) (“The Fifth Circuit has long recognized

that simply following the mandatory dictates of state law cannot form a

predicate for Monell liability.”) (citing Bigford, 834 F.2d at 1222). The

relevant policymaker in this case is the Texas Legislature, not the Abilene

City Council.

     In imposing Section 1983 liability against the City, the district court

appears to have adopted the Plaintiffs’ novel argument that a local



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government is presumed to have adopted a state law as its own, absent

compelling evidence to the contrary. So say the Plaintiffs:

           [C]ritically, in the context of a pre-enforcement
           challenge, none of the city or county defendants
           disavows SB 12 or offers compelling evidence they
           will not adopt policies and practices that prohibit
           drag shows and other First Amendment activity
           from occurring on city or county property. Such
           presumed prohibitions by the municipal defendants
           are sufficient to establish liability regardless of
           whether they flow from state law.54

     No case can be found supporting the “conceptual leap” in inherent in

this argument – that a city which fails to “disavow” an allegedly

unconstitutional state law is as guilty as the State Legislature that passed

it. The Monell-based case law in the Fifth Circuit, indeed Monell itself,

starts with the requirement of a city policy promulgated by the city’s

policymakers. Monell, 436 U.S. at 690 (“Local governing bodies can be sued

directly under § 1983 for monetary, declaratory, or injunctive relief where,

as here, the action that is alleged to be unconstitutional implements or

executes a policy statement, ordinance, regulation, or decision officially


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        ROA.875 (emphasis added); see also ROA.1773 (argument of
counsel) (“[W]e agree that they have not yet taken any steps to enforce this
law. It’s not in effect. Presumably once the law goes into effect, the final
policymakers for the municipalities will be the responsible entity.”).

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adopted and promulgated by that body's officers.”). That a state law is on

the books is not enough to deem it a city policy to enforce it. See Ness v. City

of Bloomington, 11 F.4th 914, 922 (8th Cir. 2021) (“We decline to make the

‘conceptual leap’ that the enforcement of a state statute by city police

officers supports a claim that the alleged unconstitutional statute was

adopted as a city policy.”); Surplus Store & Exch., Inc. v. City of Delphi, 928

F.2d 788, 791 (7th Cir. 1991) (“It is difficult to imagine a municipal policy

more innocuous and constitutionally permissible, and whose causal

connection to the alleged violation is more attenuated, than the ‘policy’ of

enforcing state law.”).

      The out-of-jurisdiction cases cited by the district court are easily

distinguishable. As the Second Circuit has summarized these cases:

            Three circuits – the Sixth, Ninth, and Eleventh –
            have issued decisions that, to varying degrees,
            support plaintiff’s contention that a municipality
            engages in policy making when it determines to
            enforce a state law that authorizes it to perform
            certain actions but does not mandate that it do so.
            See Garner v. Memphis Police Dep’t, 8 F.3d 358, 364
            (6th Cir. 1993) (holding that municipality’s policy of
            allowing deadly force in certain situations was a
            Monell policy even though a state statute authorized
            the use of deadly force in the situations allowed by
            the municipality as well as others, because the state


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           law did not require the use of deadly force in any
           situation); Evers v. County of Custer, 745 F.2d 1196,
           1201 (9th Cir. 1984) (holding that County Board’s
           issuance of a declaration that plaintiff’s road was
           public sufficed to impose liability although state law
           allowed such a declaration); Cooper v. Dillon, 403
           F.3d 1208, 1222-23 (11th Cir. 2005) (holding that
           municipality could be liable for enforcing an
           unconstitutional state statute when (1) a municipal
           ordinance prohibited all crimes proscribed by state
           law, and (2) the state law merely authorized
           enforcement without requiring it).

Vives v. City of New York, 524 F.3d 346, 351 (2d Cir. 2008) (also noting at

p. 353 that “we agree with all circuits to address state laws mandating

enforcement by municipal police officers [i.e., the Fourth, Sixth, Seventh,

Ninth, Tenth, and Eleventh Circuits] that a municipality’s decision to

honor this obligation is not a conscious choice. As a result, the municipality

cannot be liable under Monell in this circumstance.”).

     In Vives, the Court also pointed to another key feature of the line of

cases relied on by the district court: “While these decisions can be read to

suggest that a distinction should be made between a state law mandating

municipal action and one that merely authorizes it, in each case the [local]

policymaker was alleged to have gone beyond merely enforcing the state

statute.” The Court noted:


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            In Evers, the County Board issued a declaration
            subjecting a particular piece of property to a finding
            authorized by state law. See Evers, 745 F.2d at
            1198. In Garner, the municipality promulgated a
            deadly force policy that differed from the policy
            authorized by state law albeit in ways that
            restricted the use of deadly force. See Garner, 8 F.3d
            at 361. See Cooper, 403 F.3d at 1221-23.

Vives, 524 F.3d at 351.

      The fact that the City in open court refused to “disavow” the law is

also immaterial, given that cities, even those operating under home rule

charters, cannot repudiate or nullify a state statute. The Texas

Constitution declares state statutes superior to any municipal enactment.

See TEX. CONST. art. XI, § 5 (“no charter or any ordinance passed under

said charter shall contain any provision inconsistent with the Constitution

of the State, or of the general laws enacted by the Legislature of this

State”). Declaring neutrality from a position on the sidelines is perfectly

consistent with real neutrality. All the City legally can do is declare its

neutrality and respect the ruling of the federal courts on whether the law

is valid.

      In addition, there is no allegation or proof in this case that the City

has deprived Plaintiffs of their constitutional rights as a matter of some


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deliberate choice on the part of the City’s final policymaker. To the

contrary, all Plaintiffs have shown is that the City did in fact issue APA a

permit for its drag-oriented street parade, and the City was not shown to

have expressed any reservation about whether the permit would be

retracted. No proof was offered to show that a City policymaker with

prosecutorial discretion chose to enforce an unconstitutional law in a

manner that caused some constitutional injury.

      In short, the City has committed no constitutional tort. It is a case of

respondeat inferior, which § 1983 does not allow. Because no Abilene city

policy is alleged, much less proven, to have caused any Plaintiff to self-

censor their claimed constitutionally-protected drag performances, the

Section 1983 liability judgment against the City must be reversed and

rendered in the City’s favor.

      D.      Abuse of Discretion in Deferring Ruling on City’s
              Attorneys’ Fee Liability.

      Over the City’s objection,55 the District Court erred in deferring its

decision whether the City is liable for Plaintiffs’ attorneys’ fees. FED. R. CIV.

P. 54(d) establishes a procedure for presenting claims for attorneys’ fees.


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           ROA.1860-61.

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FED. R. CIV. P. 54(d)(2) advisory committee notes 1993 amendment. In

proposed conclusions of law, the City requested the Court, regardless of

whether S.B. 12 is valid, to rule the City is not liable for attorneys’ fees.56

This Court, as well as the Ninth and Seventh Circuits, hold that when local

enforcement officials are sued for their actions enforcing a challenged state

law, an attorney’s fee award may be properly entered only against the

State, not against the local government. Echols, 909 F.2d at 800 (affirming

order directing State of Mississippi to pay attorney fee award, even though

state was not a party, where the action of local officials “much like that of

a county sheriff in enforcing a state law, may more fairly be characterized

as the effectuation of the policy of the State ... embodied in that statute, for

which the citizens of a particular county should not bear singular

responsibility”) (quoting Familias Unidas, 619 F.2d at 404); Buffin, 23

F.4th at 962 (citing Echols, 909 F.2d at 799 and holding that “the district

court correctly found that the Sheriff acted as a state official for the

purposes of this action, subjecting the State to liability for attorney’s fees

under § 1988.”); Herbst v. Ryan, 90 F.3d 1300, 1302, 1306 (7th Cir. 1996)



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           ROA.988-89.

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(affirming district court order directing payment by State of Illinois of

attorneys’ fees incurred in litigation naming two state officials and 102

county district attorneys as defendants).

     Since Plaintiffs have challenged only the effectuation of State policy

embodied in S.B. 12, the citizens of the City of Abilene should not bear any

responsibility for any attorney fee award. Judicial economy, therefore, was

not advanced by the District Court’s refusal to address that issue before

this appeal. In fact, leaving the issue undecided invites yet another appeal

in this case and was an abuse of discretion. This Court should render the

judgment for the City that the District Court should have by denying the

Plaintiffs’ claim for attorneys’ fees from the City.

V.   CONCLUSION & PRAYER.

     For the foregoing reasons, the Court of Appeals should reverse the

District Court’s final judgment as to the City of Abilene and either dismiss

Plaintiffs’ claims against the City for want of subject-matter jurisdiction,

or with prejudice on the merits; and regardless of whether the judgment on

the merits is affirmed or reversed, the Court should reverse the District

Court’s order deferring a determination of the City’s liability for attorneys’



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fees and costs but instead render the judgment that the City is not liable

for attorneys’ fees or other costs of court. The City also seeks any other or

further relief to which it may be entitled, including an award of the taxable

costs for this appeal.

                                   Respectfully submitted,

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                        CERTIFICATE OF SERVICE

    I certify that all counsel of record have been served a true and correct
copy of this Brief by electronic submission for filing and service through the
Electronic Case Filing System of the Fifth Circuit Court of Appeals on
January 9, 2024.


                                             /s/ Ramón G. Viada III
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